The Honorable Matt Blunt Missouri Secretary of State James C. Kirkpatrick State Information Center 600 West Main Street Jefferson City, MO  65101
Dear Secretary Blunt:
On March 15, 2004, you submitted to us a summary statement for the statutory initiative petition relating to electoral reform (version 1).  The summary statement, prepared pursuant to Section116.334, RSMo 2000, is as follows:
  Shall Missouri law be amended to eliminate the present winner-take-all method of choosing electors for president and vice president and instead require that electors be chosen as follows:  two at-large electors allocated to the party or person that wins the statewide vote and the remaining electors elected by congressional district, the highest vote getter in each district to be that district's elector, with this provision to take effect February 1, 2005?
Pursuant to Section 116.334, we approve the legal content and form of the proposed statement.  Since our review of the statement is mandated by statute, no action we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Sincerely,
                               JEREMIAH W. (JAY) NIXON Attorney General